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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PACE-O-MATIC, INC.,                         :   Civil No. 1:20-CV-00292
                                            :
             Plaintiff,                     :
                                            :
             v.                             :   Judge Jennifer P. Wilson
                                            :
ECKERT, SEAMANS CHERIN &                    :
MELLOTT, LLC,                               :
                                            :
             Defendant.                     :   Magistrate Judge Joseph Saporito, Jr.
                                       ORDER
      Before the court are three motions for reconsideration, or in the alternative,

for permission to file an interlocutory appeal. (Docs. 230, 232, 234.) For the

reasons that follow, the court will deny the request for reconsideration but grant the

request to certify the issue for interlocutory appeal.

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      Plaintiff, Pace-O-Matic, Inc. (“POM”), initiated this action in February 2020

against Defendant, Eckert, Seamans Cherin & Mellot, LLC (“Eckert”), for an

alleged breach of fiduciary duties to POM. (Doc. 1.) POM alleges that this breach

stems from Eckert’s representation of both POM and a third-party competitor,

Greenwood Gaming & Entertainment, Inc. d/b/a Parx Casino (“Parx”), in matters

in which POM and Parx had competing and adverse commercial interests in the

Commonwealth Court of Pennsylvania relating to POM’s development,




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production, and licensure of electronic “skill games” sold in Pennsylvania. (Doc.

166, pp. 1−2.)1

         Eckert’s representation of POM began in 2016 in Virginia, and was limited

to the state of Virginia despite POM’s similar activity in Pennsylvania. That was

because Eckert represented Parx, a market competitor, in Pennsylvania. (Id. at

3−4.) In the summer of 2018, POM filed two lawsuits in the Commonwealth

Court of Pennsylvania through other counsel relating to the seizure and removal of

some of its skill games in Pennsylvania. 2 (Id. at 3.) During this litigation in the

Commonwealth Court, Parx, purportedly through its counsel, Hawke McKeon &

Sniscak (“HMS”) and Ballard Spahr, LLP (“Ballard”), filed amicus briefs in

opposition to POM’s position, and motions to intervene, which reportedly remain

pending with the Commonwealth Court. (Id. at 4−5.) In January 2020, POM

learned that Eckert was allegedly involved in some capacity with Parx’s

representation in the Commonwealth Court cases, assuming positions materially

adverse to POM’s position despite Eckert’s ongoing representation of POM in

Virginia. (Id. at 5.) After POM requested that Eckert withdraw from representing

Parx in adverse litigation in Pennsylvania, Eckert instead withdrew from

representing POM in Virginia. (Id.)


1
    For ease of reference, the court utilizes the page numbers from the CM/ECF header.
2
    These cases are located at docket numbers 418 MD 2018 and 503 MD 2018. (Doc. 166, p. 4.)


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      Thereafter, on the basis of these facts, POM initiated the present lawsuit in

February 2020, alleging that Eckert attorneys had been working behind the scenes

to aid litigation efforts for Parx’s adverse position in POM’s Commonwealth Court

cases despite a clear conflict of interest, and that these efforts breached Eckert’s

professional duties of loyalty and confidentiality to POM. (Id.) In an effort to

discover factual information relevant to its claim, POM served interrogatories and

requests for document production on Eckert, and corresponding non-party

subpoenas on Parx, HMS, and their agents requesting communications concerning

the Commonwealth Court cases involving POM and Parx. (Id. at 6.) Eckert, Parx,

and HMS objected to these discovery requests, asserting attorney-client and work-

product privileges. (Id.) POM moved to compel the production of these

documents and information, and Eckert, Parx, and HMS moved for a protective

order. (Id.)

      This discovery dispute has been extensively briefed and Judge Saporito

allowed oral argument on these issues on October 20, 2020, during which the

parties agreed to allow Judge Saporito to conduct an in camera review of the

subject documents. (Id. at 6−7.) Thereafter, the parties met and conferred to

determine the documents to be submitted to Judge Saporito. (Id. at 7.) These

documents were provided to Judge Saporito in December 2020, and Judge Saporito

issued his memorandum and order on February 16, 2021. (Docs. 87, 88.)


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       On March 2, 2021, Eckert, HMS, and Parx filed separate appeals of Judge

Saporito’s decision, each only appealing section III. I. of Judge Saporito’s

memorandum and paragraph 4 of Judge Saporito’s order pertaining to judicial

estoppel. (Docs. 93, 95, 97.) The court granted this appeal, finding that Judge

Saporito erred procedurally by raising the issue of judicial estoppel sua sponte

without permitting counsel to argue the issue, and thus remanded the matter for

further consideration. (Docs. 113, 114.) On remand, Judge Saporito allowed the

parties to brief the issue of judicial estoppel. 3 (Doc. 166, p. 8.) Following further

consideration, including an additional in camera review of the allegedly privileged

documents, Judge Saporito again concluded that the attorney-client privilege

invoked by Eckert was inapplicable on judicial estoppel grounds and that the work

product doctrine was likewise inapplicable. (Id. at 35−36.)

       On November 30, 2021, Eckert, Parx, and HMS filed appeals of Judge

Saporito’s decision, accompanied by supporting briefs. (Docs. 168, 169, 170, 171,

172, 173.) The court denied these appeals on July 5, 2022, finding, inter alia, that

Judge Saporito’s decision was not clearly erroneous. (Docs. 222, 223.) The

instant motions for reconsideration followed. (Docs. 230, 232, 234.) In the

alternative, Defendants seek certification of the court’s opinion and order for



3
 No party requested additional oral argument or an evidentiary hearing on the issue of judicial
estoppel. (See Docs. 128, 129, 130, 131, 134, 135, 136, 137.)


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interlocutory appeal to the Third Circuit. (Id.) These motions are fully briefed and

are ripe for disposition. 4 (Docs. 231, 233, 235, 240, 242, 246.)

                                  STANDARD OF REVIEW

       A party seeking reconsideration of a district court’s order must show either

(1) “an intervening change in the controlling law”; (2) the availability of new

evidence that was not available when the court issued its prior order; or (3) “the

need to correct a clear error of law or fact or to prevent manifest injustice.” Max’s

Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999)

(citing North River Ins. Co. v. CIGNA Reinsurance Co., 52 F.3d 1194, 1218 (3d

Cir. 1995)). Motions for reconsideration “cannot be used to reargue issues that the

court has already considered and disposed of.” McSparren v. Pennsylvania, 289 F.

Supp. 3d 616, 621 (M.D. Pa. 2018) (citing Blanchard v. Gallick, No. 1:09-CV-

01875, 2011 WL 1878226, at *1 (M.D. Pa. May 17, 2011)). Additionally, a

motion for reconsideration “may not be used to present a new legal theory for the

first time” or “to raise new arguments that could have been made in support of the

original motion.” MMG Ins. Co. v. Guiro, Inc., 432 F. Supp. 3d 471, 474 (M.D.




4
  Before these motions were fully ripe, on August 4, 2022, HMS and Parx filed notices of appeal
to the Court of Appeals for the Third Circuit. (Docs. 244, 245.) On August 9, 2022, the Third
Circuit issued an order staying the appeals pending this court’s resolution of the post-decision
motions. (Doc. 250.) Therefore, despite the pendency of an appeal challenging the court’s
opinion and order, the court considers the motions for reconsideration in light of the Third
Circuit’s order.


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Pa. 2020) (citing Vaidya v. Xerox Corp., No. 97-547, 1997 WL 732464, at *2 (E.D.

Pa. Nov. 25, 1997)).

      Although a court may reconsider a prior order based on a party’s motion,

motions for reconsideration “should be granted sparingly as federal courts have a

strong interest in the finality of judgments.” Kitzmiller v. Dover Area Sch. Dist.,

388 F. Supp. 2d 484, 488 (M.D. Pa. 2005). The decision of whether to grant a

motion for reconsideration is left to the discretion of the district court. Le v. Univ.

of Pa., 321 F.3d 403, 405 (3d Cir. 2003).

                                     DISCUSSION

      Defendants set forth separate arguments in favor of reconsideration. Eckert

asserts that the court should reconsider only the remedy selected in its opinion and

order. (Doc. 231.) Specifically, Eckert would prefer that the court judicially estop

Eckert “from denying POM’s allegation that it has represented a party adverse to

POM in litigation[,]” rather than having the purportedly privileged documents

produced to POM. (Id. at 6.) Parx argues that the application of judicial estoppel

is inappropriate in this case, and the court should reconsider its ruling to avoid

manifest injustice. (Doc. 233.) HMS claims that the application of judicial

estoppel is unwarranted here, but that if the court applies judicial estoppel, it

should adopt the remedy proposed by Eckert. (Doc. 235.) In the alternative, all




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Defendants seek certification of the court’s opinion and order for interlocutory

appeal. The court considers these arguments in turn.

      A. The Motions for Reconsideration Are Denied. (Docs. 230, 232, 234.)

      Initially, the court finds that Defendants’ requests for reconsideration are

improperly raised in the context of a motion to reconsider. Indeed, motions for

reconsideration “may not be used to present a new legal theory for the first time,”

“to raise new arguments that could have been made in support of the original

motion[,]” or “to reargue issues that the court has already considered and disposed

of.” MMG Ins. Co., 432 F. Supp. 3d at 474 (citing Vaidya, 1997 WL 732464, at

*2); McSparren, 289 F. Supp. 3d at 621 (citing Blanchard, 2011 WL 1878226, at

*1). Eckert did not argue its proposed remedy at any point in the litigation of this

discovery dispute before filing the instant motion. The issue of judicial estoppel

and the potential remedies have been presented for Judge Saporito’s consideration

on two occasions and to this court on two separate appeals. Now, for the first time,

in a motion to reconsider, Eckert presents an argument in support of an alternative

remedy. The court concludes that Eckert seeks to raise new arguments that it could

have raised in support of the original motion, the supplemental briefing ordered by

Judge Saporito, or the appeal. Thus, Eckert’s request for a different remedy is not

a proper basis for the court to reconsider its prior ruling.




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      Moreover, even if the court were inclined to entertain Eckert’s belatedly

proposed remedy, the court finds that adopting this remedy would not be an

adequate remedy for POM. As explained in the court’s July 5, 2022 opinion,

“[f]orcing POM to rely only on privilege logs to litigate this case would be akin to

asking counsel to litigate the central issue in this case blindfolded, albeit with a

slightly opaque blindfold since POM has been provided with a description of the

documents in the privilege log and in Judge Saporito’s opinion. Indeed, it is

unclear how POM could prove its breach of fiduciary duty claim when it has not

had the opportunity to review the documents that may substantiate this claim.”

(Doc. 222, p. 13.) Therefore, the court denies Eckert’s motion for reconsideration.

(Doc. 230.)

      Likewise, HMS and Parx’s motions to reconsider merely reargue the issues

already considered and rejected by the court. Such re-hashing of arguments

already considered does not warrant reconsideration, and the court denies their

motions as well. (Docs. 232, 234.)

      B. The Motions for Certification of the Court’s July 5, 2022 Opinion
         and Order Are Granted. (Docs. 230, 232, 234.)

      Court orders on discovery disputes are not final orders, and a losing party

may not ordinarily pursue a direct appeal therefrom. Indeed, the Third Circuit has

explained that “[i]t is settled law in this court that discovery matters generally are

not reviewable until after final judgment.” De Masi v. Weiss, 669 F.2d 114, 121

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(3d Cir. 1982) (citing Eastern Maico Distributors, Inc. v. Maico-Fahrzeugfabrik,

G.m.b.H., 658 F.2d 944, 947 (3d Cir. 1981)). This is because:

      Close questions of finality are not ordinarily presented where . . . the
      appeal is from an order compelling or denying discovery. This is so
      because such orders bespeak their own interlocutory character. They
      are necessarily only a stage in the litigation and almost invariably
      involve no determination of the substantive rights involved in the
      action.

Borden Co. v. Sylk, 410 F.2d 843, 845 (3d Cir. 1969). In short, it is the unusual

and exceptional circumstance that a court’s order on a discovery dispute is

appropriate for interlocutory appeal. Pennsylvania v. Navient Corp., No. 3:17-CV-

1814, 2019 U.S. Dist. LEXIS 34990, at *3 (M.D. Pa. Mar. 5, 2019) (“Congress

intended that [S]ection 1292(b) should be sparingly applied. It is to be used only

in exceptional cases where an intermediate appeal may avoid protracted and

expensive litigation and is not intended to open the floodgates to a vast number of

appeals from interlocutory orders in ordinary litigation.” (quoting Milbert v. Bison

Labs., Inc., 260 F.2d 431, 433 (3d Cir. 1958))); Knopick v. Downey, 963 F. Supp.

2d 378, 398 (M.D. Pa. 2013) (“An interlocutory appeal should be reserved for

‘exceptional cases.’” (quoting Caterpillar Inc. v. Lewis, 519 U.S. 61, 74 (1996)); In

re Chocolate Confectionary Antitrust Litig., 607 F. Supp. 2d 701, 708 (M.D. Pa.

2009) (noting that a district court should exercise its discretion and certify issues

for interlocutory appeal only sparingly in exceptional circumstances).




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      However, in an exceptional circumstance, a court may certify a non-final

order for interlocutory appeal under 28 U.S.C. § 1292(b) if (1) the order “involves

a controlling question of law,” (2) “a substantial ground for difference of opinion”

exists with regard to the issue involved, and (3) an immediate appeal “may

materially advance the ultimate termination of the litigation.” 28 U.S.C.

§ 1292(b); Simon v. United States, 341 F.3d 193, 199 (3d Cir. 2003). The decision

of whether to certify an issue for interlocutory appeal rests in the sound discretion

of the district court, and the court may decline to certify an order even if the parties

have satisfied all elements enumerated in the statute. Knipe v. SmithKline

Beecham, 583 F. Supp. 2d 553, 599 (E.D. Pa. 2008); L.R. v. Manheim Twp. Sch.

Dist., 540 F. Supp. 2d 603, 608 (E.D. Pa. 2008).

      In this case, Eckert, Parx, and HMS seek to certify the court’s July 5, 2022

opinion and order on the question of whether judicial estoppel may be applied as

an exception to or waiver of the attorney-client privilege of a non-party. (Doc.

231, p. 9; Doc. 233, pp. 14−15; Doc. 235, p. 6.) The court finds that certification

of this issue is appropriate in this exceptional instance for several reasons.

Initially, the court finds that a controlling question of law is present because “the

question is ‘serious to the conduct of the litigation’” as a practical and legal matter.

In re Chocolate Confectionary Antitrust Litig., 607 F. Supp. 2d at 705 (quoting

Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir. 1974)). Indeed, the


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documents subject to disclosure are central to the critical issues and claims in this

litigation: whether there is documentary evidence that Eckert breached its fiduciary

duties to POM by representing Parx in litigation adverse to POM at the same time

that it represented POM. In the event that these documents are produced to POM,

neither the court nor Defendant would be able to “unring” the bell of disclosure. 5

       Second, the court finds that there are grounds for difference of opinion on

this issue since no controlling precedent has applied judicial estoppel in this

manner. Knipe, 583 F. Supp. 2d at 599; EBC, Inc. v. Clark Bldg. Sys., No. 05-

01549, 2008 WL 728541, at *2 (W.D. Pa. Mar. 17, 2008). Indeed, the law is far

from clear on this issue.

       Finally, the court concludes that certifying this issue for appeal would

“materially advance the ultimate termination of the litigation.” 28 U.S.C.

§ 1292(b). In this case, the parties have repeatedly discussed participation in a

settlement conference, but then have drawn back from full engagement, likely due

to the pendency of motions before the court related to this discovery dispute. After

achieving resolution on this issue, the court anticipates that counsel will be in a

better position to attempt to settle the case or proceed to trial. In either event, the




5
 Absent a protective order or an order under Federal Rule of Evidence 502(d), neither of which
have been requested in this case, the privilege asserted by Parx would be waived or lost.


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court anticipates that a final resolution of the legal issue underlying this discovery

dispute will materially advance the resolution of this litigation.

                                    CONCLUSION

      For the reasons stated herein, the court grants in part and denies in part the

motions for reconsideration or for interlocutory appeal. (Docs. 230, 232, 234.)

Specifically, the court denies the requests for reconsideration, but grants the

requests for interlocutory appeal. The court certifies the following question for

interlocutory appeal pursuant to 28 U.S.C. § 1292(b): whether judicial estoppel

may be applied as an exception to or waiver of the attorney-client privilege of a

non-party. As a result of the court granting the interlocutory appeal in this case,

the court also stays the production of the discovery materials referenced in Judge

Saporito’s implementing order at pages 2−7 pending resolution of this appeal.

(Doc. 167, pp. 2−7.)

                                               s/Jennifer P. Wilson
                                               JENNIFER P. WILSON
                                               United States District Court Judge
                                               Middle District of Pennsylvania

      Dated: August 11, 2022




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